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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN


DISPLAY TECHNOLOGIES, LLC,                           Case No.

                                                     Hon.
       Plaintiff,

       v.                                            Jury Trial Demanded

  ALPINE ELECTRONICS OF
  AMERICA, INC.,

       Defendant


                      Complaint for Patent Infringement

      Plaintiff Display Technologies, LLC (“Plaintiff” or “Display”) files this

Complaint against Alpine Electronics of America, Inc. (“Defendant” or “Alpine”)

for infringement of United States Patent No. 9,300,723 (the “ ‘723 Patent”).

                             Parties and Jurisdiction

      1.     This is an action for patent infringement under Title 35 of the United

States Code. Plaintiff is seeking injunctive relief as well as damages.

      2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331

(Federal Question) and 1338(a) (Patents) because this is a civil action for patent

infringement arising under the United States patent statutes.

      3.     Plaintiff is a Texas limited liability company with a place of business

at 1801 NE 123rd Street, Suite 314, North Miami, FL 33161.
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      4.     On information and belief, Defendant is a California corporation with

a principal office address of 1500 Atlantic Blvd., Auburn Hills, MI 48326. On

information and belief, Defendant may be served through its registered agent, URS

Agents Inc. (C3355755).

      5.     This Court has personal jurisdiction over Defendant because

Defendant has committed, and continues to commit, acts of infringement in this

District, has conducted business in this District, and/or has engaged in continuous

and systematic activities in this District.

      6.     Upon information and belief, Defendant’s instrumentalities that are

alleged herein to infringe were and continue to be used, imported, offered for sale,

and/or sold in this District.

                                        Venue

      7.     On information and belief, venue is proper in this District under 28

U.S.C. § 1400(b) because Defendant is deemed to be a resident of this District.

Alternatively, acts of infringement are occurring in this District and the Defendant

has a regular and established place of business in this District.

                                    Count I
              (Infringement of United States Patent No. 9,300,723)

      8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.

      9.     This cause of action arises under the patent laws of the United States

and, in particular, under 35 U.S.C. §§ 271, et seq.

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      10.    Plaintiff is the owner by assignment of the ‘723 Patent with sole rights

to enforce the ‘723 Patent and sue infringers.

      11.    A copy of the ‘723 Patent, titled “Enabling social interactive wireless

communications,” is attached hereto as Exhibit A.

      12.    The ‘723 Patent is valid, enforceable, and was duly issued in full

compliance with Title 35 of the United States Code.

      13.    Defendant has infringed and continues to infringe one or more claims,

including at least Claim 12 of the ‘723 Patent by making, using, and/or selling

media systems covered by one or more claims of the ‘723 Patent. For example,

Defendant makes, uses, and/or sells the CDE-175BT systems, portable Bluetooth

enabled speaker system, and any similar products (“Product”). Defendant has

infringed and continues to infringe the ‘723 Patent in violation of 35 U.S.C. § 271.

      14.    Regarding Claim 12, the Product is configured to receive a media file

(e.g., music file) from a wireless mobile device (e.g., mobile phone) over a

communication network (e.g. Bluetooth network). The wireless mobile device

(e.g., mobile phone) sends data (e.g., music file) to the media system. Certain

aspects of this element are illustrated in the screenshots below and/or those

provided in connection with other allegations herein.




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      15.   The Product includes a wireless receiver (e.g., Bluetooth receiver).

Certain aspects of this element are illustrated in the screenshots below and/or in

those provided in connection with other allegations herein.




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      16.   The Product includes a security measure. For example, the Product

must paired and connected by inputting a password (i.e., a security measure) to a

wireless mobile device (e.g. mobile phone) before receiving a media file. Certain

aspects of this element are illustrated in the screenshots below and/or those

provided in connection with other allegations herein.




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      17.    The Product is disposed in an accessible relation to at least one

interactive computer network (e.g., Bluetooth network) that has a wireless range

structured to permit authorized access (e.g., via pairing code) to said at least one

interactive computer network. Certain aspects of this element are illustrated in the

screenshots below and/or those provided in connection with other allegations

herein.




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      18.   When the wireless mobile device is within the wireless range, the

wireless mobile device is detectable by the media system (e.g., the media system

automatically detects a smartphone when the mobile device is within Bluetooth

range). Certain aspects of this element are illustrated in the screenshots below

and/or those provided in connection with other allegations herein.




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      19.    At least one digital media file (e.g., music file) is initially disposed on

the wireless mobile device (e.g., the mobile phone includes one or more music

files). Certain aspects of this element are illustrated in the screenshots below and/or

those provided in connection with other allegations herein.




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      20.    The media system is structured to detect the wireless mobile device

disposed within the wireless range (e.g., media system automatically detects the

mobile phone when it is within Bluetooth range). Certain aspects of this element

are illustrated in the screenshots below and/or those provided in connection with

other allegations herein.




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      21.   A communication link (e.g., Bluetooth) is structured to dispose the

media system and the wireless mobile device (e.g. mobile phone) in a

communicative relation with one another via the at least one interactive computer

network. Certain aspects of this element are illustrated in the screenshots below

and/or those provided in connection with other allegations herein.




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      22.   The communication link is initiated by the media system. The devices

will automatically connect when the units are in range. Certain aspects of this

element are illustrated in the screenshots below and/or those provided in

connection with other allegations herein.




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      23.    The wireless mobile device and the media system are structured to

transmit the at least one digital media file there between via the communication

link (e.g., media system allows for the transmission of files between itself and the

wireless mobile device; e.g., the mobile device transmits the music file to the media

system). Certain aspects of this element are illustrated in the screenshots provided

in connection with other allegations herein.

      24.    The communication link is structured to bypass the security measure

of the media system for a limited permissible use of the communication link by the

wireless mobile device for only transferring the at least one digital media file to,


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and displaying the at least one digital media file on, the media system (e.g., the

media system bypasses the security measure of the Bluetooth network). Certain

aspects of this element are illustrated in the screenshots below and/or those

provided in connection with other allegations herein.




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      25.   Defendant’s actions complained of herein will continue unless

Defendant is enjoined by this court.

      26.   Defendant’s actions complained of herein are causing irreparable


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harm and monetary damage to Plaintiff and will continue to do so unless and until

Defendant is enjoined and restrained by this Court.

      27.    Plaintiff is in compliance with 35 U.S.C. § 287.

                                   Jury Demand

      Plaintiff demands a trial by jury on all issues so triable.

                                 Prayer for Relief

      WHEREFORE, Plaintiff asks the Court to:

      (a)    Enter judgment for Plaintiff on this Complaint on all causes of action

asserted herein;

      (b)    Enter an Order enjoining Defendant, its agents, officers, servants,

employees, attorneys, and all persons in active concert or participation with

Defendant who receive notice of the order from further infringement of United

States Patent No. 9,300,723 (or, in the alternative, awarding Plaintiff running

royalties from the time of judgment going forward);

      (c)    Award Plaintiff damages resulting from Defendant’s infringement in

accordance with 35 U.S.C. § 284;

      (d)    Award Plaintiff pre-judgment and post-judgment interest and costs;

and

      (e)    Award Plaintiff such further relief to which the Court finds Plaintiff

entitled under law or equity.


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Dated: February 14, 2020                 Respectfully submitted by:
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